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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

James Stewart
                                   Plaintiff,
v.                                                    Case No.: 1:18−cv−03916
                                                      Honorable Charles R. Norgle Sr.
Credit Control, LLC, et al.
                                   Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, March 7, 2019:


         MINUTE entry before the Honorable Jeffrey Cummings:Discovery conference
held. Defendant Credit Control's motion to stay discovery [75] is entered and continued.
Plaintiff's opposition to defendant's motion to stay [80] was improperly filed as a motion
instead of a response to defendant's motion. Accordingly, plaintiff's opposition to the
motion to stay [80] is denied as it is not in itself a motion; however, the Court will
consider the arguments raised by plaintiff when considering defendant's motion to stay.
As stated on the record, plaintiff is to provide all defendants with a letter clearly outlining
what discovery remains at issue, including discovery disputes raised in his motions to
compel and any email correspondence, by 3/21/19. Defendants are to provide the Court
with their responses to requests to produce, interrogatories, and requests to admit, along
with a cover letter outlining what they have produced and what disputes remain between
plaintiff and defendants by 4/4/19. Defendants are to provide two copies of their
submission to this Court's chambers, room 1350, by the close of business on 4/4/19.
Defendant Experian is directed to supplement its submission after it responds to plaintiff's
outstanding requests for admission if it responds to the requests after 4/4/19. The parties
are encouraged to continue discussions to narrow down the remaining discovery disputes
before defendants' submissions to the Court. Defendant LVNV Funding is to meet and
confer with plaintiff over plaintiff's responses to interrogatories, requests to produce, and
requests to admit. If disputes over plaintiff's responses remain after the meet and confer,
defendant LVNV Funding is to submit plaintiff's responses to discovery along with a
letter identifying what is at issue by 4/4/19. A motion hearing on the remaining discovery
issues will be held on 4/25/19 at 11:00 a.m. Plaintiff has leave to submit requests to admit
on defendants Credit Control and Resurgent by 3/21/19, but plaintiff may not issue any
additional discovery requests or file further motions to compel prior to the 4/25/19 motion
hearing. (rbf, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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